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FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

UNITED sTATEs oF AMERICA mg :;

v. No. 05-2023l-B

 

MARCUS TALLEY

 

ORDER CONTINUING ARRAIGNMENT AND
SPECIFYING PERIOD OF EXCLUDABLE DELAY UNDER THE SPEEDY TRIAL ACT

 

The Defendant Was not transported, to the United States
District Court for the scheduled hearing on July 27, 2005. The
Court found that in the interests of justice that this matter be
continued. Pursuant to the Speedy Trial Act, as set in 18 U.S.C.
§3161(h)(8)(A), defendant's period of excludable delay may be
granted if the ends of justice are served.

The Arraignment is therefore continued and reset to Wednesday,
Augusr. 3, 2005 @ 10=ooa.m. in courtroom na-:#.c 9th £1. , Fodoral
Building, 167 N. Main Street, Memphis, Tennessee.

It is therefore ORDERED that the time period of 7127[05
through, 8[2[05 be excluded from the time its imposed by the
Speedy Trial Act for trial of this case, due to the interests of

justice.

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ohio 523 day of Juiy, 2005.

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Diane K. Vescovo
UNITED S'I‘ATES MAGISTRATE JUDGE

Thi= document entered on ihs docket;.?sst in compiiance
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with Ru|e 55 and/cr 32(b} FRCrP on

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:05-CR-20231 Was distributed by faX, mail, or direct printing on
July 29, 2005 to the parties listed.

 

 

Katrina U. Earley

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Honorable J. Breen
US DISTRICT COURT

